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           UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF TEXAS
                  AUSTIN DIVISION


Leila Green Little, et al.,

                      Plaintiffs,
                                        Case No. 1:22-cv-00424-RP
v.

Llano County, et al.,

                      Defendants.


            RESPONSE IN OPPOSITION TO PLAINTIFFS’
             MOTION FOR PRELIMINARY INJUNCTION
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     The motion for preliminary injunction should be denied out of hand because the
plaintiffs can access each of the disputed books from the Llano County library system

through one or more of the following three ways: (1) Through Inter Library loan;
(2) Through the library’s “in-house checkout” system, in which a personal or donated
book is made available to library patrons for check out; or (3) Through Biblio-
theca/CloudLibrary, the successor to OverDrive that serves as the Llano County li-
brary system’s online database of books. See Declaration of Amber Milum ¶¶ 9–11
(attached as Exhibit 1). So there is no conceivable violation of their supposed “right
to receive information”1 or their “right to receive ideas.”2 The plaintiffs have not iden-
tified any book that they are unable to obtain or check out from the Llano County
library system, and their claims that the library has “banned” and “censored” the dis-
puted books are hyperbolic and preposterous when each of those books remains avail-
able for physical check out and online reading through the defendants’ library system.
     Nor can the plaintiffs establish any ongoing First Amendment injury from the
cancellation of OverDrive, because the library has implemented a new online database
of books that can be accessed through Bibliotheca and its CloudLibrary app. See Dec-
laration of Ron Cunningham ¶ 10 (attached as Exhibit 2). The Bibliotheca/Cloud-
Library database offers access to significantly more books than the erstwhile Over-
Drive system, while simultaneously providing effective parental controls that were un-
available through OverDrive. See id. at ¶ 10. This sinks any possible claim of prospec-
tive First Amendment injury that could support a preliminary injunction.




1.   Mot. for Prelim. Inj., ECF No. 22, at 10 (quoting Sund v. City of Wichita Falls,
     121 F. Supp. 2d 530, 547 (N.D. Tex. 2000)).
2.   Mot. for Prelim. Inj., ECF No. 22, at 10 (quoting Board of Education v. Pico,
     457 U.S. 853, 867–68 (1982) (plurality opinion)).


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     Finally, the plaintiffs cannot establish irreparable harm because they can still check
out and read every one of the disputed books through the Llano County library sys-

tem — and they cannot establish irreparable harm from the cancellation of OverDrive
because the library has adopted and implemented a more expansive online database of
books through Bibliotheca and its CloudLibrary app. Nor can the balance of equities
support a preliminary injunction when the plaintiffs are not being harmed in the
slightest. Every one of the disputed books that they want to check out remains avail-
able for them to check out, and the library has expanded rather than contracted its
online collection of books by switching from OverDrive to Bibliotheca.

                            STATEMENT OF FACTS
     The plaintiffs contend that the Llano County library system is violating their First
Amendment rights and inflicting irreparable harm by removing the following titles
from the bookshelves:

      1. Caste: The Origins of Our Discontent by Isabel Wilkerson;
      2. They Called Themselves the K.K.K.: The Birth of an American Terror-
         ist Group by Susan Campbell Bartoletti;
      3. Spinning by Tillie Walden;
      4. In the Night Kitchen by Maurice Sendak;
      5. It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual
         Health by Robie Harris;
      6. A read-aloud picture book series including My Butt is So Noisy!, I
         Broke My Butt!, and I Need a New Butt! by Dawn McMillan;
      7. A read-aloud picture book series including Larry the Farting Lepre-
         chaun, Gary the Goose and His Gas on the Loose, Freddie the Farting
         Snowman, and Harvey the Heart Has Too Many Farts by Jane Bexley;
      8. Being Jazz: My Life as a (Transgender) Teen by Jazz Jennings;
      9. Shine by Lauren Myracle;
     10. Gabi, a Girl in Pieces by Isabel Quintero; and
     11. Freakboy by Kristin Elizabeth Clark.3


3.    See Day Decl., ECF No. 22-2, at ¶ 4; Jones Decl., ECF No. 22-3, at ¶ 3; Ken-
      nedy Decl., ECF No. 22-4, at ¶ 3; Little Decl., ECF No. 22-5, at ¶ 3; Moster
      Decl., ECF No. 22-7, at ¶ 3; Puryear Decl., ECF No. 22-9, at ¶ 3; Waring Decl.,
      ECF No. 22-11, at ¶ 3.


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And each of the plaintiffs has submitted declarations complaining that they “cannot
check out” these books and announcing that they “would check out these books” if

they were restored to the library shelves.4
     The plaintiffs’ claim that they “cannot check out” these books is false. See Milum
Decl. ¶¶ 9–10, 18–19. Each of these titles remains available to the plaintiffs to obtain
or read through the Llano County library system in at least one the following three
ways: (1) Through Inter Library loan; (2) Through the library’s “in-house checkout”
system, in which a personal or donated book is made available to library patrons for
check out even though it does not appear on the shelves; or (3) Through Biblio-
theca/CloudLibrary, which serves as the Llano County library system’s online data-
base of books. See Milum Decl. ¶¶ 9–11 (attached as Exhibit 1). The following chart
shows how each of the disputed books can currently be obtained or read through the
Llano County library system:

               Title                          Author              Availability

 Caste: The Origins of Our           Wilkerson, Isabel     Bibliotheca/CloudLibrary
 Discontents
 They Called Themselves the          Bartoletti, Susan     Inter Library loan
 K.K.K.: The Birth of an             Campbell
 American Terrorist Group
 Spinning                            Walden, Tillie        Inter Library loan
 In the Night Kitchen                Sendak, Maurice       Inter Library loan
 It’s Perfectly Normal: Changing     Harris, Robie         Bibliotheca/CloudLibrary
 Bodies, Growing Up, Sex and
 Sexual Health
 My Butt is So Noisy!, I Broke My    McMillan, Dawn        Inter Library loan,
 Butt!, I Need a New Butt                                  Physical copies available
                                                           for in-house checkout




4.    See Day Decl., ECF No. 22-2, at ¶ 4; Jones Decl., ECF No. 22-3, at ¶ 3; Ken-
      nedy Decl., ECF No. 22-4, at ¶ 3; Little Decl., ECF No. 22-5, at ¶ 3; Moster
      Decl., ECF No. 22-7, at ¶ 3; Puryear Decl., ECF No. 22-9, at ¶ 3; Waring Decl.,
      ECF No. 22-11, at ¶ 3.


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 Larry the Farting Leprechaun,       Bexley, Jane           Inter Library loan,
 Gary the Goose and His Gas on                              Physical copies available
 the Loose, Freddie the Farting                             for in-house checkout
 Snowman, Harvey the Heart
 Has Too Many Farts
 Being Jazz: My Life as a            Jennings, Jazz         Bibliotheca/CloudLibrary
 (Transgender) Teen                                         and one physical copy
                                                            (Currently checked out
                                                            and overdue)
 Shine                               Myracle, Lauren        Inter Library loan
 Gabi, a Girl in Pieces              Quintero, Isabel       Inter Library loan, and
                                                            Bibliotheca/CloudLibrary
 Freakboy                            Clark, Kristin         Inter Library loan
                                     Elizabeth
Milum Decl. at ¶ 10.
     In addition to this present-day availability, a donor has pledged to give physical
copies of each of the books listed in the chart for inclusion in Llano County’s “in-
house checkout” if those books are not already available for checkout through the
library’s in-house checkout system. See Milum Decl. at ¶ 11. The library system has
promised to accept this gift and will add each of those titles to its collection of books
available for in-house checkout. See id. This will ensure that each of the plaintiffs can
check out physical copies of each of the disputed books from the Llano County library
system without having to use Inter Library loan or Bibliotheca if they find those al-
ternatives inconvenient.5
     So the plaintiffs not being “denied their right to access” these books, as they
assert throughout their brief. See Mot. for Prelim. Inj., ECF No. 22, at 1 (“Each
moment that Plaintiffs are denied their right to access the banned books, they suffer
immediate and irreparable harm.”); Milum Decl. ¶¶ 18–19. Nor have the books been
“banned” or “censored.” The plaintiffs can currently check out physical copies of



5.    The defendants will immediately notify the Court when the donor’s gift arrives
      and the books are added to the library’s in-house checkout collection. See Milum
      Decl. at ¶ 11.


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these books or read online versions, and they will be able to check out physical copies
of every book listed in the chart as soon as the donor’s gift is added to the library’s in-

house checkout collection. See id. at ¶¶ 18–19.
    The plaintiffs also gripe about the cancellation of OverDrive, but they ignore the
fact that the library has adopted a new and more expansive online database of books
to replace the OverDrive system. See Cunningham Decl. ¶ 10. None of this is
acknowledged or addressed in the motion for preliminary injunction or its supporting
declarations, and the plaintiffs make no attempt to explain how the switch from Over-
Drive to Bibliotheca/CloudLibrary violates the First Amendment or inflicts irrepara-
ble harm. Instead, the plaintiffs pretend as though the defendants scrapped OverDrive
and replaced it with nothing. See Mot. for Prelim. Inj., ECF No. 22, at 7–8; id. at 12–
13; id. at 18; Jones Decl., ECF No. 22-3, at ¶ 5. Kennedy Decl., ECF No. 22-4, at
¶ 4; Little Decl., ECF No. 22-5, at ¶ 12; Waring Decl., ECF No. 22-11, at 7. They
do not even assert, let alone demonstrate, that the Bibliotheca/CloudLibrary online
database is inferior to OverDrive in any way.
    Finally, the plaintiffs’ claim that the library system removed the disputed books
because of viewpoint or content discrimination or pressure from community activists
is false. Each of the books that was removed from the shelves met the library system’s
established criteria for “weeding,” a continual process in which libraries take down
books that have declined in popularity, are not being checked out often, or whose
condition has deteriorated. See Milum Decl. ¶¶ 3–8, 12–16. Each of the books taken

from the shelves met the criteria for weeding and would have been removed regardless
of the content or viewpoints expressed in those books — and they would have been
removed even if no one in the community had ever complained about them. See Mi-
lum Decl. ¶¶ 6–7 (declaring that the “butt” and “fart” books were weeded “because
they were not being circulated sufficiently to warrant keeping them on the shelves,
not because of the viewpoints or content expressed in either of those books.”); id. at


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¶ 8 (declaring that In the Night Kitchen and It’s Perfectly Normal were not “in high
demand, [and] they were weeded consistent with my normal weeding procedures. I

would have weeded each of these books regardless of the viewpoints or content ex-
pressed in those books, and I would have done so even if no one in the community
had ever complained about them.”); id. at ¶ 12 (declaring that Freakboy, Shine, Caste:
The Origins of our Discontents, Gabi, a Girl in Pieces, and They Called Themselves the
K.K.K.: The Birth of an American Terrorist Group were removed from the shelves
because they met the critieria for weeding); id. at ¶ 12 (“My decision to weed the six
books had nothing to do with the viewpoints or content expressed in any of those
books. I would have weeded each of those six books regardless of the viewpoints or
content expressed in those books, and I would have done so even if no one in the
community had ever complained about them.”); see also id. at ¶¶ 13–15.
    More importantly, the library system declined to remove 41 books that that been
opposed by members of the community — and they declined to take this step because
those books did not meet the library’s criteria for weeding. When Amber Milum, the
director of the Llano County Library System, received the list of objectionable books
that had been prepared by Bonnie Wallace, she “reviewed each of the 47 physical
books and in the process, [and] I discovered that 6 of the books should be weeded:
‘Freakboy,’ ‘Shine,’ ‘Caste: The Origins of our Discontents,’ ‘Gabi, a Girl in Pieces,’ and
‘They Called Themselves the K.K.K.: The Birth of an American Terrorist Group.’” Mi-
lum Decl. ¶ 12. As for the remaining 41 books:

       The remaining 41 books did not meet the criteria for weeding and
       seemed to be relatively popular with our patrons. I therefore decided
       to leave those 41 books on the shelves so our patrons could continue
       to check them out.




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Id. So the plaintiffs’ claim that books were removed “based on Defendants’ wholly
subjective views of the propriety of those books”6 is patently and demonstrably false.

And so is their assertion that the defendants “targeted books with content that con-
flicted with their personal political and religious beliefs.” Mot. for Prelim. Inj., ECF
No. 22, at 5.
      Many of the plaintiffs’ remaining factual assertions are irrelevant to their consti-
tutional claims or the relief requested in their motion for preliminary injunction. The
plaintiffs mention a book on critical race theory that was moved from the library
shelves and placed behind the front desk,7 but they are not asking for that book to be
returned to the shelves in their proposed order,8 and they do not assert in their dec-
larations that they have any desire to read or check out that book. The plaintiffs com-
plain about closed meetings held by the library board,9 but they present no argument
for how those closed meetings were unlawful, nor do they explain how they would be
likely to succeed on the merits of any such claim. Finally, the plaintiffs complain about
the treatment of Suzette Baker,10 a librarian who was terminated for insubordination,
but Ms. Baker is not a party to this case and the plaintiffs are not seeking reinstatement
or any type of relief on her behalf. See Proposed Order, ECF No. 22-12.

                                     ARGUMENT
      The present-day availability of each of the disputed books — along with the suc-
cessful implementation of the Bibliotheca/CloudDrive online database — leaves the
plaintiffs’ motion for preliminary injunction without a leg to stand on. There is no
conceivable violation of the plaintiffs’ First Amendment rights when they remain able



6.     See Mot. for Prelim. Inj., ECF No. 22, at 5.
7.     See Mot. for Prelim. Inj., ECF No. 22, at 6.
8.     See Proposed Order, ECF No. 22-12.
9.     See Mot. for Prelim. Inj., ECF No. 22, at 8–9.
10.    See Mot. for Prelim. Inj., ECF No. 22, at 9; Baker Decl., ECF No. 22-1.


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to check out or read online each of the books that they falsely claim they have been
“denied their right to access.” Mot. for Prelim. Inj., ECF No. 22, at 1. And the plain-

tiffs have failed to identify any violation of their constitutional rights that might arise
from the library’s decision to replace OverDrive with Bibliotheca — especially when
Bibliotheca provides the plaintiffs (and everyone else) with access to a more expansive
database of online books. See Cunningham Decl. ¶ 10. Nor can the plaintiffs show
“irreparable harm” when they can access each of the disputed books through the
Llano County library system, and when they have been given access to a far greater
collection of online books than they enjoyed under the OverDrive regime.

I.     The Plaintiffs Misstate The Standard For A Preliminary
       Injunction
     A preliminary injunction is an “extraordinary remedy,” and it may not be granted
unless the movant has “clearly carried the burden of persuasion on all four require-
ments.” Texas Medical Providers Performing Abortion Services v. Lakey, 667 F.3d 570,
574 (5th Cir. 2012) (emphasis added); see also Mazurek v. Armstrong, 520 U.S. 968,
971, 972 (1997) (per curiam) (“It frequently is observed that a preliminary injunction
is an extraordinary and drastic remedy, one that should not be granted unless the
movant, by a clear showing, carries the burden of persuasion.” (emphasis in original)
(citation and internal quotation marks omitted)). That means the plaintiffs must
make: (1) a clear showing that they will likely succeed on the merits; (2) a clear show-
ing that they will suffer irreparable harm absent a preliminary injunction; (3) a clear
showing that their injury outweighs any harm that will result if a preliminary injunc-
tion is granted; and (4) a clear showing that a preliminary injunction will not disserve
the public interest. See Roho, Inc. v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990). A
failure to present a “clear showing” on any one of the four components compel the
court to deny preliminary injunctive relief. See Lakey, 667 F.3d at 574.




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      The plaintiffs refuse to acknowledge the “clear showing” requirement, and they
do not even assert that they have “clearly carried” their burden of persuasion on any

of the four prongs of the preliminary-injunction test. But the law of the Fifth Circuit
requires a “clear showing” from the plaintiffs on each of these four requirements. See
Voting for America, Inc. v. Steen, 732 F.3d 382, 386 (5th Cir. 2013) (“This court has
repeatedly cautioned that ‘a preliminary injunction is an extraordinary remedy which
should not be granted unless the party seeking it has clearly carried the burden of
persuasion on all four requirements.’” (citation and some internal quotation marks
omitted)). The plaintiffs come nowhere close to making a “clear showing” on any of
the four components of the preliminary-injunction test.

II.     The Plaintiffs Have Failed To Make A “Clear Showing” Of
        Likely Success On Merits
      The plaintiffs contend that the defendants are violating their First Amendment
rights by depriving them of their “right to receive information” and their “right to
receive ideas.” Mot. for Prelim. Inj., ECF No. 22, at 10 (quoting Sund v. City of
Wichita Falls, 121 F. Supp. 2d 530, 547 (N.D. Tex. 2000) and Board of Education v.
Pico, 457 U.S. 853, 867–68 (1982) (plurality opinion)).
      This claim encounters two immediate and insurmountable problems. The first
problem is that the defendants have not deprived the plaintiffs of their ability to receive
information or ideas because each of the disputed books remains available for them
to check out or read online through the Llano County library system. See Milum Decl.
¶¶ 9–10, 18–19. The second problem is that even if the library had completely re-
fused to provide the plaintiffs with access to these books, its actions would still be
constitutional because public libraries have “broad discretion” to choose the materials
that they make available to patrons. See United States v. American Library Ass’n Inc.,
539 U.S. 194, 204 (2003) (plurality opinion of Rehnquist, C.J.) (“[P]ublic libraries
must have broad discretion to decide what material to provide to their patrons.”);



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Chiras v. Miller, 432 F.3d 606, 614 (5th Cir. 2005) (“‘Public library staffs necessarily
consider content in making collection decisions and enjoy broad discretion in making

them.’” (citation and internal quotation marks omitted)). The plaintiffs have no an-
swer to any of this.

       A.     The Library Has Not In Any Way Deprived The Plaintiffs Of Their
              Ability To “Receive Information” Or “Receive Ideas”
    The plaintiffs’ entire First Amendment argument rests on a false factual premise:
That the defendants have deprived them of access to the books that were removed
from the library shelves. See Mot. for Prelim. Inj., ECF No. 22 (claiming throughout
their brief that the disputed books had been “banned” or “censored”). As has already
been explained, each of the disputed books remains available for the plaintiffs to check
out or read online through the Llano County library system. See Milum Decl. ¶¶ 9–
11, 18–19. All they have to do is stop by the reference desk and request the book
through Inter Library loan, or ask for the book through the library’s “in-house check-
out” system. They can also read some (though not all) of the disputed books online
through the library’s Bibliotheca/CloudLibrary database. See id. at ¶ 10. And physical
copies of all of the disputed books will soon be available for “in-house checkout”
when the upcoming donor gift is received and processed. See id. at ¶ 11.
    The plaintiffs also refuse to deal with the fact that the library’s switch from Over-
Drive to Bibliotheca has increased the number of books available in the library’s online
database. See Cunningham Decl. ¶ 10. Instead, their motion and declarations act as
though the replacement of OverDrive has permanently deprived them of any online-
reading option in the Llano County library system.11 Yet the plaintiffs should be
thanking rather than suing the county for implementing this change.



11. See Mot. for Prelim. Inj., ECF No. 22, at 7–8; id. at 12–13; id. at 18; Jones
    Decl., ECF No. 22-3, at ¶ 5. Kennedy Decl., ECF No. 22-4, at ¶ 4; Little Decl.,
    ECF No. 22-5 at ¶ 12; Waring Decl., ECF No. 22-11, at 7.


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    So none of the plaintiffs’ First Amendment claims can even reach first base.

       B.     Even If The Library Had Deprived The Plaintiffs Of Access To
              The Disputed Books, Its Actions Would Still Be Entirely
              Constitutional
    Matters get worse for the plaintiffs as we move from the facts to the law. If we
ignore the actual facts and pretend as though the defendants eliminated any possible
way for the plaintiffs to check out or read the disputed books through the county’s
public-library system, the defendants’ actions would still be entirely constitutional.
The Supreme Court’s ruling in United States v. American Library Ass’n Inc., 539 U.S.
194 (2003) — which the plaintiffs do not even cite — makes abundantly clear that
public libraries “have broad discretion to decide what material to provide to their

patrons.” Id. at 204 (plurality opinion of Rehnquist, C.J.); see also Chiras v. Miller,
432 F.3d 606, 614 (5th Cir. 2005) (“‘Public library staffs necessarily consider content
in making collection decisions and enjoy broad discretion in making them.’” (quoting

American Library Ass’n, 539 U.S. at 204 (plurality opinion of Rehnquist, C.J.)).12
American Library Association also makes clear that public libraries are not “tradi-
tional” or “designated” public forums that trigger rules against content discrimination
or viewpoint discrimination:

       [F]orum analysis and heightened judicial scrutiny are . . . incompatible
       with the discretion that public libraries must have to fulfill their tradi-
       tional missions. Public library staffs necessarily consider content in mak-
       ing collection decisions and enjoy broad discretion in making them.
American Library Ass’n, 539 U.S. at 204 (plurality opinion of Rehnquist, C.J.); see
also Chiras v. Miller, 432 F.3d 606, 614 (5th Cir. 2005) (“‘[J]ust as forum analysis
and heightened judicial scrutiny are incompatible with the role of public television



12. Chief Justice Rehnquist’s opinion in American Library Association is a plurality
    opinion and not a majority opinion, but to the extent that passages from his
    plurality opinion appear in Chiras v. Miller, 432 F.3d 606, 614 (5th Cir. 2005),
    they have the status of binding precedent in this Court.


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stations and the role of the NEA, they are also incompatible with the discretion that
public libraries must have to fulfill their traditional missions.’” (quoting American

Library Ass’n, 539 U.S. at 204 (plurality opinion of Rehnquist, C.J.)). So it would
not even matter whether the defendants were motivated by content or viewpoint dis-
crimination when they removed the disputed books from the shelves. They would
need only to posit a rational basis for doing so, and a decision to remove books from
the shelves in accordance with established “weeding” criteria13 easily satisfies rational-
basis review. See American Library Ass’n, 539 U.S. at 204 (plurality opinion of
Rehnquist, C.J.)) (“[G]enerally the First Amendment subjects libraries’ content-based
decisions about which print materials to acquire for their collections to only rational
[basis] review.” (citation and internal quotation marks omitted)); Egli v. Chester
County Library System, 394 F. Supp. 3d 497, 504 (E.D. Pa. 2019) (“Libraries are not
required to accommodate every book or proposed talk, but instead must determine
based on their professional judgment which materials are deemed to have ‘requisite
and appropriate quality’ to occupy the limited space available.” (quoting American
Library Ass’n, 539 U.S. at 204 (plurality opinion of Rehnquist, C.J.)); Gay Guardian
Newspaper v. Ohoopee Regional Library System, 235 F. Supp. 2d 1362, 1371 (S.D. Ga.
2002) (“Librarians may ordinarily take some comfort in the fact that . . . their content
selection/removal decisions need only have a rational basis.”).
    In all events, the defendants did not engage in either viewpoint discrimination or
content discrimination, even if the plaintiffs could somehow find a way to show that

the rules against viewpoint or content discrimination apply. Amber Milum’s declara-
tion conclusively refutes the plaintiffs’ insinuations of improper motive, as it painstak-
ingly explains how each of the books that she removed from the shelves met the li-
brary’s established criteria for “weeding.” See Milum Decl. ¶¶ 3–8, 12–16. Milum’s


13. See Milum Decl. ¶¶ 3–8, 12–16.


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declaration also shows that the library refused to remove 41 books that had generated
complaints but did not meet the criteria for weeding. See Milum Decl. ¶ 12 (“The

remaining 41 books did not meet the criteria for weeding and seemed to be relatively
popular with our patrons. I therefore decided to leave those 41 books on the shelves
so our patrons could continue to check them out.”). Lest there be any doubt on this
score, Ms. Milum has declared in no uncertain terms:

       I would have weeded each of those . . . books regardless of the view-
       points or content expressed in those books, and I would have done so
       even if no one in the community had ever complained about them.
Milum Decl. ¶ 12; see also id. at ¶ 8 (same). So much for the plaintiffs’ innuendo
about these book removals being driven by the defendants’ “subjective viewpoints.”
Mot. for Prelim. Inj., ECF No. 22, at 11.
    Of course, none of this even matters because the defendants have not done any-
thing that deprives the plaintiffs of their ability to access any book that was previously
available to them. But even if the defendants had acted in a manner that cut off the
plaintiffs’ ability to access or obtain these books through the Llano County library
system, the plaintiffs would not even have the beginnings of a First Amendment claim
against the county or its officials.

       C.      The Plaintiffs Have Failed To Make A “Clear Showing” That They
               Will Succeed In Obtaining The Relief In Their Proposed Order
    The plaintiffs’ proposed order goes far beyond demanding the return of the books
listed in the plaintiffs’ declarations. It also purports to enjoin the defendants from
“closing future meetings of the Library Board to members of the public.” Proposed
Order, ECF No. 22-12. But the motion for preliminary injunction presents no argu-
ment for how the closing of these meetings violates the law or inflicts irreparable
harm, so the plaintiffs have waived any argument for this relief at the preliminary-
injunction stage.




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      The proposed order also purports to enjoin the defendants from “removing any
books from the Llano County Library Service’s physical shelves for any reason during

the pendency of this action.” Proposed Order, ECF No. 22-12. That requested relief
is far too overbroad, as it would prevent ordinary weeding and inhibit the library from
making room for new items. The plaintiffs have not presented any argument for why
they would be entitled to an injunction of that scope. See Califano v. Yamasaki, 442
U. S. 682, 702 (1979) (“[I]njunctive relief should be no more burdensome to the
defendant than necessary to provide complete relief to the plaintiffs”).

III.    The Plaintiffs Have Failed To Make A “Clear Showing”
        That They Will Suffer Irreparable Harm
      The plaintiffs cannot establish irreparable harm because they have no conceivable
First Amendment injury, as each of them can still check out and read every one of the
disputed books through the Llano County library system. The plaintiffs also cannot
establish irreparable harm from the cancellation of OverDrive because the library has
adopted and implemented a more expansive online database of books through Bibli-
otheca and its CloudLibrary app. Nor have the plaintiffs produced evidence that the
defendants are about to deprive them of access to any book that they might want to
read or obtain through the Llano County library system. Their claims of irreparable
harm are chimerical and rest on the same false factual premises as their First Amend-
ment claims.

IV.     The Plaintiffs Have Failed To Make A “Clear Showing”
        That The Balance Of Equities Or The Public Interest
        Weighs In Their Favor
      Because there is no conceivable harm being inflicted on the plaintiffs — let alone
“irreparable” harm — the plaintiffs cannot clearly show that the balance of equities
tips in their favor. Nor can the public interest be served by enjoining defendants who
have done nothing that even remotely approaches unlawful or unconstitutional con-
duct. The plaintiffs’ arguments on these points rest entirely on their insistence that



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the defendants are violating their First Amendment rights, but that claim has been
soundly refuted. See Part II, supra.

                                   CONCLUSION
    The motion for preliminary injunction should be denied.

                                          Respectfully submitted.

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                         CERTIFICATE OF SERVICE
   I certify that on July 20, 2022, I served this document through CM/ECF upon:

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